
PER CURIAM.
A.D., a juvenile, appeals his disposition order which was entered by the trial court after A.D. was found guilty of violating the terms of his probation. A.D. contends that the trial court erred in directing him to pay the costs incurred in connection with his competency evaluations because he had been declared indigent by the court. The State essentially concedes error in this case, noting that the case of W.Z. v. State, 35 So.3d 51 (Fla. 5th DCA 2010), in which this court held that such an assessment of costs was improper, was not decided until six months after the trial court entered its order in this case. The ruling in W.Z. is controlling and, accordingly, we strike the portion of the disposition order which directs A.D. to pay the costs for his competency evaluations.
REVERSED and REMANDED.
GRIFFIN, SAWAYA and PALMER, JJ., concur.
